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                  EXHIBIT 6
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 1                          UNITED STATES DISTRICT COURT

 2                         NORTHERN DISTRICT OF CALIFORNIA

 3                                SAN JOSE DIVISION

 4

 5
        APPLE INC., A CALIFORNIA              )   C-11-01846 LHK
 6      CORPORATION,                          )
                                              )   SAN JOSE, CALIFORNIA
 7                          PLAINTIFF,        )
                                              )   AUGUST 21, 2013
 8                  VS.                       )
                                              )   PAGES 1-76
 9      SAMSUNG ELECTRONICS CO., LTD.,        )
        A KOREAN BUSINESS ENTITY;             )
10      SAMSUNG ELECTRONICS AMERICA,          )
        INC., A NEW YORK CORPORATION;         )
11      SAMSUNG TELECOMMUNICATIONS            )
        AMERICA, LLC, A DELAWARE              )
12      LIMITED LIABILITY COMPANY,            )
                                              )
13                          DEFENDANTS.       )
                                              )
14

15                            TRANSCRIPT OF PROCEEDINGS
                          BEFORE THE HONORABLE LUCY H. KOH
16                           UNITED STATES DISTRICT JUDGE

17

18

19                            APPEARANCES ON NEXT PAGE

20

21

22

23      OFFICIAL COURT REPORTER: LEE-ANNE SHORTRIDGE, CSR, CRR
                                      CERTIFICATE NUMBER 9595
24

25               PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                       TRANSCRIPT PRODUCED WITH COMPUTER


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 1                    THE COURT:   OKAY.   WITH REGARD TO -- THERE IS AN

 2      UNOPPOSED MOTION TO STAY THE COURT'S ORDER GRANTING ROVI'S

 3      MOTION TO INTERVENE AND GRANTING IN PART AND DENYING IN PART

 4      THE MOTION TO SEAL.        THAT'S ECF NUMBER 2355.

 5            THAT UNOPPOSED MOTION TO STAY IS GRANTED AND I'LL JUST

 6      INCLUDE AN ENTRY IN THE CASE MANAGEMENT ORDER THAT COMES OUT OF

 7      TODAY'S PROCEEDING JUST SO IT'S CLEAR ON THE RECORD THAT THAT

 8      HAS BEEN DEALT WITH.

 9            OKAY.    LET'S GO TO THE PROPOSED NEUTRAL STATEMENT.    I DON'T

10      INTEND TO DO ANY NEUTRAL STATEMENT.

11            I DO ENVISION THAT THE PRELIMINARY JURY INSTRUCTIONS WOULD

12      HAVE TO GIVE SOME INDICATION TO THE JURY AS TO WHAT ISSUE IS

13      BEFORE THEM AND WHAT ISSUE THEY DO NOT NEED TO DECIDE, AND I'M

14      GOING TO LEAVE IT FOR A LATER DATE FOR THE PARTIES TO MEET AND

15      CONFER AND PERHAPS COME UP WITH YOUR OWN SEPARATE PROPOSALS AS

16      TO WHAT YOU THINK THAT LANGUAGE SHOULD BE, WHETHER IT SHOULD BE

17      JUST "IN A PRIOR PROCEEDING, A JURY FOUND INFRINGEMENT AND

18      VALIDITY," OR WHETHER IT SHOULD SAY, "YOU ARE TO ASSUME

19      VALIDITY AND INFRINGEMENT AND THE ONLY ISSUE FOR YOU TO DECIDE

20      IS DAMAGES."      I WOULD LIKE YOU ALL TO MEET AND CONFER AND MAKE

21      A PROPOSAL AS TO WHAT THAT PRELIMINARY JURY INSTRUCTION SHOULD

22      BE.

23            BUT I DON'T INTEND TO GIVE ANY OTHER STATEMENT BEYOND A

24      PRELIMINARY JURY INSTRUCTION, AND I EXPECT THIS ISSUE TO, AT

25      MOST, BE ONE OR TWO SENTENCES OF THE PRELIMINARY JURY



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 1      INSTRUCTIONS.    OKAY?   I HOPE THAT'S --

 2                  MS. MAROULIS:   THANK YOU.

 3                  THE COURT:   -- SOMEWHAT HELPFUL GUIDANCE.

 4          OKAY.    LET'S GO TO THIS QUESTION ABOUT WITNESSES, EXHIBITS,

 5      DEPOSITION DESIGNATIONS.

 6          SO -- AND I'LL GIVE YOU AN OPPORTUNITY TO RESPOND, BUT I

 7      HAVE BEEN THINKING ABOUT HOW TO DO THIS IN THIS RETRIAL, AND I

 8      THINK THE CLEANEST WAY IS TO SAY THAT ANY EVIDENCE THAT WAS NOT

 9      STRICKEN, THAT WAS NOT SUBJECT TO SOME DAUBERT MOTION OR MOTION

10      IN LIMINE AND EXCLUDED, THAT WAS TIMELY IDENTIFIED, WHETHER IT

11      WAS ACTUALLY INTRODUCED AS AN EXHIBIT OR WHETHER ANY TESTIMONY

12      WAS ACTUALLY ADDUCED FROM THE TRIAL, IS ADMISSIBLE AND IS

13      WITHIN THE PROPER SCOPE OF THIS RETRIAL.

14          HOWEVER, ANYTHING THAT WAS PREVIOUSLY EXCLUDED, ANY EXHIBIT

15      OR WITNESS THAT WAS NOT TIMELY DISCLOSED, ANY NEW DATA IS NOT

16      WITHIN -- DOES NOT FALL WITHIN THE PROPER SCOPE OF THIS TRIAL.

17          SO I DO BELIEVE THAT THE PARTIES PREVIOUSLY IDENTIFIED

18      WITNESSES FOR SPECIFIC TOPICS, AND IF THOSE WERE SUBMITTED AND

19      DISCLOSED TIMELY AND WERE NOT SUBJECT TO A MOTION TO STRIKE,

20      DAUBERT MOTION, MOTION IN LIMINE THAT WAS GRANTED, THEN THAT IS

21      THE PROPER SUBJECT OF THIS UPCOMING TRIAL.      ALL RIGHT?

22          SO SAME FOR EXHIBITS.     IF IT WAS TIMELY DISCLOSED AND

23      WASN'T EXCLUDED IN ANY WAY, WHETHER IT WAS OR WAS NOT

24      INTRODUCED DURING THE TRIAL, IT'S FAIR GAME FOR THIS TRIAL.

25          AS FAR AS WITNESSES, IT DOES -- I AM LIMITING THE WITNESSES



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 1      TO THE TOPICS FOR WHICH THEY WERE TIMELY DISCLOSED AND FOR

 2      WHICH NO EXCLUSION ORDER WAS GRANTED.

 3          OKAY?    IS THAT CLEAR AS MUD, OR WHAT --

 4                  MS. MAROULIS:    YOUR HONOR, I HAVE A COUPLE OF

 5      CLARIFICATIONS, IF IT'S OKAY.

 6                  THE COURT:    OKAY.   UM-HUM.

 7                  MS. MAROULIS:    WITH RESPECT TO WITNESSES, THERE WERE

 8      SEVERAL DIFFERENT ITERATIONS OF THE WITNESS LIST.

 9                  THE COURT:    OKAY.

10                  MS. MAROULIS:    I UNDERSTOOD WHAT YOUR HONOR JUST SAID

11      IS TO SAY THAT WHEN SAMSUNG SERVED ITS WITNESS LIST ON

12      JULY 7TH, THE FIRST LIST, AND ANYONE FROM THAT LIST WHO WAS NOT

13      STRICKEN LATER IN TRIAL CAN BE A WITNESS POTENTIALLY IN THIS

14      CASE.    IS THAT RIGHT?

15                  MR. MCELHINNY:    TO REFRESH -- IF I MAY REFRESH YOUR

16      HONOR'S RECOLLECTION?       WE WENT THROUGH THREE ITERATIONS OF

17      WITNESS LISTS BECAUSE THE ORIGINAL SAMSUNG WITNESS LIST HAD

18      OVER 200 WITNESSES ON IT.

19          A SECOND ITERATION HAD THE PROPER NUMBER OF WITNESSES, BUT

20      HAD AN APPENDIX A ATTACHED WHICH INCLUDED THE 200 WITNESSES.

21          YOUR HONOR TOLD SAMSUNG THAT WAS NOT WHAT YOU HAD INTENDED,

22      AND EACH PARTY SUBMITTED A FINAL WITNESS LIST, AND THAT WAS THE

23      WITNESS LIST FOR WHICH WITNESSES WERE ALLOWED TO TESTIFY AT

24      TRIAL.

25          WHAT MS. MAROULIS SAYS SHE UNDERSTANDS YOU TO MEAN IS TO GO



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 1      USED, THEN IT WOULD BE HELPFUL TO DECIDE IT SOONER.

 2                  MS. MAROULIS:    YOUR HONOR, I SUGGEST THAT WE DECIDE

 3      IT BEFORE TRIAL.

 4                  THE COURT:   OKAY.    LET'S HAVE THAT BE PART OF THE

 5      MOTIONS IN LIMINE, WHICH ARE GOING TO BE DECIDED ON

 6      OCTOBER 17TH, PLEASE.

 7                  MS. MAROULIS:    THANK YOU.

 8                  THE COURT:   OKAY.    ALL RIGHT.   BUT THAT IS THE

 9      DEFAULT RULE, THAT IF IT WAS PREVIOUSLY ADMITTED, WE'RE GOING

10      TO GO AHEAD AND ADMIT IT NOW, IT'LL SAVE TIME AND BE SIMPLER,

11      AND NO NEW OBJECTIONS WILL BE ENTERTAINED.

12          OKAY.

13                  MR. MCELHINNY:    I'M --

14                  THE COURT:   LET'S TALK ABOUT TIME ALLOCATION.

15                  MR. MCELHINNY:    BEFORE WE LEAVE THAT --

16                  THE COURT:   YES?

17                  MR. MCELHINNY:   I'M SORRY, YOUR HONOR.     BEFORE WE

18      LEAVE THAT, WE HAVE THE SAME WHICH LIST PROBLEM, BECAUSE,

19      AGAIN, THE LISTS GOT NARROWED, AND THE ORIGINAL LIST HAD OVER A

20      THOUSAND EXHIBITS ON IT, AND WE EVENTUALLY ENDED UP WITH A --

21                  THE COURT:   FINAL.

22                  MR. MCELHINNY:    THANK YOU.

23                  THE COURT:   FINAL LIST.

24                  MS. MAROULIS:    YOUR HONOR, WE HAVE ONE QUESTION

25      REGARDING THE EXHIBIT LIST.       AS YOU KNOW, APPLE CHANGED



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 1      EXPERTS.   THEY HAVE NOW JULIE DAVIS AS THEIR EXPERT.    MS. DAVIS

 2      SUBMITTED A NUMBER OF NEW OPINIONS, WHICH IS THE SUBJECT OF A

 3      MOTION THAT'S COMING UP, AND SAMSUNG WOULD RESPECTFULLY REQUEST

 4      A DEPARTURE FROM THE SAME EXHIBITS RULE FOR THE SOLE PURPOSE OF

 5      IMPEACHMENT OF MS. DAVIS, BECAUSE WHEN WE WERE WORKING WITH

 6      MR. MUSIKA AND DEPOSING HIM AND DOING IMPEACHMENT AND WHATNOT,

 7      WE WERE LIMITED TO ONE SET OF DOCUMENTS.

 8          AND NOW THIS IS A NEW PERSON, A NEW EXPERT WHO HAS A NEW

 9      SET OF OPINIONS AND IF WE'RE NOT ABLE TO USE ANY NEW DOCUMENTS

10      AT ALL TO CONTRADICT HER OPINIONS, UNLESS THEY'RE STRICKEN,

11      THAT WOULD BE PREJUDICIAL TO SAMSUNG.

12                 THE COURT:   IS THERE ANY OBJECTION FROM APPLE AS TO

13      THAT?

14                 MR. MCELHINNY:   THERE IS, YOUR HONOR.

15                 THE COURT:   WHAT'S THAT?

16                 MR. MCELHINNY:   I DON'T UNDERSTAND THE LOGIC THAT

17      THERE WOULD BE DIFFERENT IMPEACHMENT OF MS. DAVIS.     MS. DAVIS

18      IS RESTRICTED TO GIVING MR. -- THE OBJECTION IS THAT THIS OPENS

19      THE WORLD TO ALL -- I MEAN, ALL OF A SUDDEN EVERY DOCUMENT --

20      THERE'S NO WAY FOR ME TO KNOW WHAT DOCUMENTS THEY'RE TALKING

21      ABOUT, WHAT THE UNIVERSE OF EXHIBITS BECOMES SUDDENLY.

22                 THE COURT:   UM-HUM.

23                 MR. MCELHINNY:   WE HAVE A WITNESS WHO'S BEEN -- AND

24      YOU'LL HEAR THE MOTIONS, YOU'LL SEE IT -- VERY STRICTLY, BY

25      YOUR HONOR'S ORDER, COMPELLED TO GIVE EXACTLY THE SAME OPINIONS



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 1      THAT MR. MUSIKA GAVE --

 2                THE COURT:   UM-HUM.

 3                MR. MCELHINNY:   -- USING THE SAME METHODOLOGIES,

 4      USING THE SAME DOCUMENTS THAT HE USED, ESSENTIALLY.

 5          THE CONCEPT THAT THERE'S NEW IMPEACHMENT AND, THEREFORE,

 6      THERE'S THIS BIG GAPING HOLE IN THE EXHIBIT RULE -- TO DO IT IN

 7      THIS KIND OF A CONTEXT FOR A BROAD ORDER I THINK LOSES ALL

 8      CONTROL OF THE PROCESS.

 9                THE COURT:   WELL, I JUST WANT TO GIVE YOU SORT OF

10      BROAD GUIDANCE, AND THEN I'LL HAVE YOU MEET AND CONFER AND THEN

11      YOU CAN TEE IT UP FOR A LATER TIME.

12          BUT I DO THINK IF THERE IS IMPEACHMENT THAT IS SPECIFIC TO

13      MS. DAVIS, I DON'T KNOW, MAYBE SHE'S GOT A CHECK FRAUD

14      CONVICTION, I --

15                MR. MCELHINNY:   IT WASN'T ADMITTED IN THE FIRST

16      TRIAL, YOUR HONOR.

17          (LAUGHTER.)

18                THE COURT:   WELL, I'M ASSUMING MR. MUSIKA DIDN'T HAVE

19      THAT CONVICTION.   I DON'T KNOW.   MAYBE IT'S YOUR CONVICTIONS AS

20      WELL.

21          (LAUGHTER.)

22                THE COURT:   BUT IF THERE'S SOME SPECIFIC IMPEACHMENT

23      AS TO HER, I THINK IT'S ONLY FAIR THAT SAMSUNG BE ALLOWED TO

24      BRING THAT UP.

25          NOW, IF THEY'RE NOW GOING TO ATTACK THE LOST PROFITS



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 1      METHODOLOGY WITH HER OWN STATEMENT THAT'S CONTRARY, HER OWN

 2      PUBLICATION THAT'S CONTRARY TO THAT STATEMENT, I THINK THAT'S

 3      FAIR GAME, TOO.

 4           NOW, IF IT'S OTHER THIRD PARTY TREATISE THAT THEY SHOULD

 5     HAVE BEEN ABLE TO DISCOVER AND USE AGAINST MR. MUSIKA, THEN I

 6     AGREE, WHATEVER THEY SHOULD HAVE FOUND THAT WOULD BE APPLICABLE

 7     TO MR. MUSIKA SHOULD BE EXCLUDED.

 8           BUT WHATEVER IS SPECIFIC TO MS. DAVIS, HER OWN SPEECHES,

 9     HER OWN PUBLICATIONS, HER OWN CRIMINAL CONVICTIONS, WHATEVER IT

10     IS, I THINK THAT'S FAIR GAVE.

11                MR. MCELHINNY:    MAY WE HAVE A SPECIFIC DATE BY WHICH

12      THOSE ARE IDENTIFIED TO US SO THAT WE CAN FIND OUT WHAT THIS

13      UNIVERSE IS, YOUR HONOR?

14                THE COURT:   WELL, WHEN SHOULD THAT BE DECIDED?    I'M A

15      LITTLE BIT CONCERNED THAT IF A CMC TURNS INTO A MONSTER, I'M A

16      LITTLE BIT CONCERNED ABOUT OCTOBER 10 AND OCTOBER 17.

17          I WAS INITIALLY ENVISIONING ANY MOTION TO STRIKE FROM THE

18      EXPERT REPORT TO BE HEARD ON OCTOBER 10 WITH ANY DAUBERT

19      MOTION, AND THEN HAVING ANY MOTION IN LIMINE HEARD ON

20      OCTOBER 17.

21          SO WHEN DOES IT MAKE SENSE TO HAVE --

22                MS. MAROULIS:    YOUR HONOR, IT SEEMS LIKE PRETRIAL

23      CONFERENCE MATERIAL, SO IT WOULD BE HEARD AT THE PRETRIAL

24      CONFERENCE OF OCTOBER 17.

25                THE COURT:   THE 17TH?   OKAY.   I WAS GOING TO GIVE YOU



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